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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

TAMMY ROBERTS,                                   )
                                                 )
                     Plaintiff,                  )
v.                                               )
                                                 )
CIMARRON MEMORIAL HOSPITAL                       )
                                                 )      CIV-2017-131-M
and                                              )
                                                 )
NEWLIGHT HEALTHCARE, LLC                         )
                                                 )
                     Defendants.                 )

              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed.R.Civ.P.41(a)(1)(A)(ii), Plaintiff, Tammy Roberts, by and through

her attorney of record, and Defendants, Cimarron Memorial Hospital and Newlight

Healthcare, LLC, by and through its attorneys of record, hereby stipulate to the dismissal

with prejudice of all claims and causes of action brought in this case by the Plaintiff. The

Parties further stipulate and agree that each party shall each bear its own attorneys’ fees

and costs.


       RESPECTFULLY SUBMITTED THIS 7th DAY OF FEBRUARY, 2018


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